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                                                 November 21, 2022

VIA ECF
Honorable Magistrate Judge Cathy L. Waldor
U.S. District Court, District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102


       Re:       KeyBank National Association v. Direct Building Products Corp, et al
                 Case No. 2:20-mc-00170-KSH-CLW


Dear Judge Waldor:

        This firm represents Plaintiff KeyBank National Association in the above referenced
action. In accordance with Your Honor’s instructions in the Text Order of November 1, 2022, I
am writing to report on the status of Defendants’ discovery response. To date Defendants have
not provided any documents, or an affidavit relating to same, and have not complied with the
November 1st Order, or prior Orders relating to Defendants’ obligation to produce the subject
documents. Plaintiff has been prejudiced by Defendants’ failure to produce. Plaintiff requests
that the Court issue an Order compelling the production of the subject documents and imposing
appropriate sanctions upon Defendants in the event of continued noncompliance.

       Thank you for Your Honor’s attention.

                                                         Respectfully submitted,

                                                         WONG FLEMING, P.C.
                                                         Attorney for Plaintiff

                                                         /s/ Carl J. Dallarda
                                                         Carl J. Dallarda


CD/bm
cc: Scott C. Levenson, Esq.



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